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  AO 91 (Rev. 11/11) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District of California

                   United States of America
                              v.
                                                                               Case No.    ~~ ~.'
                                                                                                ~ ~S
                     Stephen William Beal




                             Defendants)


                                                     CRIMINAL COMPLAINT
           I,the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the dates) of                       May 15, 2018                in the county of                Orange             in the
         Central   District of                   California       ,the defendants) violated:
               ~. ~         ~
              Cie ~n                                                             Offense Description
 C~ U.S.C. §`~861`~'c~;          i                  Possession of Unregistered Destructive Device
                     r `~                                                                                 FILED-SOUTH'ERN C?IVI510N
                         7
Q            ~                       €                                                                                    _. ~ COURT
                                                                                                         CLERK, U S. ~~STRiC
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`~          ~ -~_ ~~ ~                                                                             ~        ~ MAY I ? 2018
              :~.~., ~~                                                                                     ~ ..
                  '
                  '-~ ~          ~                                                                     CF_N"fRAL UIS i )CT OF CAUFORI
           This criminal complaint is based on these facts:                                            sY                      KEPI.

  Please see attached affidavit




              Continued on the attached sheet.



                                                                                                 Complainan    si      ure

                                                                                          Special Agent Evan Jesch, FBI
                                                                                                 Printed name and title

 Sworn to before me and signed in my presence.


 Date:       .~/f
                                                                                                   Judge's signature

 City and state:                         Santa Ana, California                      Hon. Karen E. Scott, U.S. Magistrate Judge
                                                                                                 Printed name and title


 AUSA: Mark Takla
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                                    /.\ yyili~/~I Il
 I,Evan Jesch, being duly sworn, declare and state as follows:
                             I.     INTRODUCTION
       1.    I am a Special Agent with the Federal Bureau ofInvestigation
("FBI"). I have been an FBI Special Agent since 2016. I am currently assigned to
the Los Angeles Field Office, Orange County Resident Agency. As a member of
the Joint Terrorism Task Force ("JTTF"), my duties include, but are not limited to,
investigating crimes related to domestic terrorism. Prior to joining the JTTF,I
investigated crimes involving health care fraud, public corruption, bank robbery,
child exploitation, and international kidnapping. I have received both formal and
informal training from the FBI and other institutions regarding investigative
techniques including interviewing subjects, search and arrest warrants, wiretaps,
and pen registers. I-am familiar with related laws, the interpretation and
application of federal laws and federal court procedures, and have previously
assisted in the execution of numerous federal search and arrest warrants.
       2.    This affidavit is made in support of a criminal complaint against, and
arrest warrant for, Stephen William BEAL("BEAL")for a violation of26 U.S.C.
§ 5861(d)(Possession of Unregistered Destructive Device)(the "Subject
Offense").
       3.    The facts set forth in this affidavit are based upon my personal
observations, my training and experience, and information obtained from-other
agents and witnesses. This affidavit is intended to_show merely that there is
sufficient probable cause for the requested complaint and does not purport to set
forth all of my knowledge of or investigation into this matter. Unless specifically
indicated otherwise, all conversations and statements described in this affidavit are
related in substance and in part only, and all dates set forth below are on or about
the dates indicated.
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                    II.    SUMMARY OF INVESTIGATION
       4.     The FBI is investigating the May 15, 2018, explosion at 11 Mareblu,
 Aliso Viejo, California that killed one person, Ildiko Krajnyak ("Krajnyak"), and
 injured two more as a possible targeted attack. Evidence collected from the blast
 site suggests that the explosive incident was intentional and was not caused by an
 accident, though the exact means by which the explosive incident was carried out
 has not yet been determined. Two completed improvised explosive devices
("IEDs") and three firearms were recovered from a search of the Long Beach
 residence of Krajnyak's ex-boyfriend, BEAL, as well as precursor chemicals,
 energetic materials, e-matches, variously sized cardboard and modified rocket
 tubes —all known to be chemical precursors and component parts ofIEDs.
                          III.   LEGAL BACKGROUND
       5.     Based on my training and consultations with the United States Code, I
 know the following:
              a.    The relevant text of 26 U.S.0 § 5861(d)is:
      [I]t shall be unlawful for any person to receive or possess a firearm
       which is not registered to him in the National Firearms Registration
      and Transfer Record.
 26 U.S.C. § 5861(d).
              b.    Pursuant to 26 U.S.C. § 5845(a)(8), the term "firearm" is
 defined to include "a destructive device." A destructive device, as defined in 26
 U.S.C. § 5845(f~(1), includes "(1) any explosive [or] incendiary ...(A)bomb,(B)
 grenade,(C)rocket having a propellent [sic] charge of more than four ounces,(D)
 missile having an explosive or incendiary charge of more than one-quarter ounce,
(E)mine, or(F)similar device; ...and (3) any combination of parts either
 designed or intended for use in converting any device into a destructive device as
 defined in subparagraphs(1) and (2) and from which a destructive device may be
 readily assembled."


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                  IV.   STATEMENT OF PROBABLE CAUSE
       A.    A May 15,2018 Explosion in Aliso Viejo, California Killed
             Krajnyak and Injured Two Others
      6.     Based on my communications with Orange County Sheriff's
Department("OCSD")deputies, and FBI and Bureau of Alcohol, Tobacco,
Firearms, and Explosives("ATF") Special Agents, I learned the following:
             a.     On May 15, 2018, at approximately 1:08 p.m., OCSD deputies
responded to an explosion at the business complex located at 11 Mareblu, Aliso
Viejo, in Orange County, California (the "Mareblu Building"). OCSD deputies
observed smoke and fire coming from the first floor of the Mareblu Building and
broken window glass and debris in the parking lot. OCSD deputies evacuated the
immediate area.
             b.     Orange County Fire Authority("OCFA")and OCSD Bomb
Squad personnel entered the building and discovered human remains outside of a
broken window and in the parking lot of an adjacent building. The human remains
were later identified as belonging to Krajnyak, who died in the explosion. OCFA
located two women who were injured, but alive, in a day spa called Magyar
Kozmetica (the "Spa"), in suite 1 l0A of the Mareblu Building. The Spa appeared
to be the location of the explosion. The injured women, Victim 2 and her mother,
Victim 3, were later identified as patrons of the Spa, which Krajnyak owned with
BEAL and which Krajnyak operated.
             c.     OCSD and FBI Evidence Response Teams("ERT")and bomb
technicians responded to the scene and entered the Mareblu Building. After
clearing the building for secondary explosive devices, law enforcement personnel
located the blast seet, or origin, ofthe explosion inside Suite 110A, near the front
counter of the Spa. Law enforcement personnel observed significant damage to the
building's interior and exterior, consistent with an explosive incident. Suite



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1 l0A's ceiling was blown open and the floor of the unit above Suite 1 l0A was
buckled. The glass from the unit's windows was blown into the parking lot.
               d.    Near the location believed to be the blast seat, ERT recovered a
nine-volt battery, a cellular telephone, melted material that appeared to be duct
tape, and loose wires. All of these items were heavily damaged, which is
consistent with an explosive incident.
      7.       Following the explosion, OCSD deputies spoke with Victim 2 and
Victim 3 at local hospital where they were being treated for their injuries,
specifically, burns and lacerations consistent with an explosive incident. I have
reviewed the reports of these interviews and learned the following:
               a.   Victim 2 and Victim 3 stated that they had previously-visited
the Spa and received treatments from Krajnyak. All three women are ethnically
Hungarian. Victim2 and Victim 3 went to the Spa for spa treatments on May 15,
2018. The three women were the only people at the Spa that morning.
               b.   Following their spa treatments, as Victim 2 and Victim 3
approached the front counter to pay, Victim 2 noticed lots of mail piled up along
with three to four brown cardboard boxes on the floor next to the counter. Victim
2 observed Krajnyak pick up one ofthe boxes, place it on the counter, and open it
with a tool.
               c.   As soon as Krajnyak opened the box, Victim 2 stated that the
box exploded and recalled being blown backwards by the explosion onto the floor.
She also saw flames and smoke. Victim 3, who did not observe Krajnyak open the
package, stated that she was getting a glass of water when she felt and heard an
explosion and was knocked to the ground. Victim 3 described seeing "everything
on fire." Following the explosion, Victim 2 and Victim 3 exited the building and
waited for help to arrive. Victim 2 did not see what happened to Krajnyak.




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      B.     Identification and Interviews of BEAL
      8.     Based on my communication with FBI SAs Chris Denning and Matt
Jaremenko and FBI TFO from the Anaheim Police Department Rob Warren,I
learned the following:
             a.     BEAL's current girlfriend, Witness 1, saw the news report of
the explosion and advised him to contact the phone number for the OCSD because
she knew that he leased space at the Mareblu Building and that Krajnyak was
BEAL's ex-girlfriend and business partner.
             b.     BEAL and Witness 1 told the FBI that BEAL contacted the
OCSD at approximately 3:30 p.m. OCSD went to his residence on East El Paseo
in Long Beach in Los Angeles County("BEAL's Residence"). BEAL consented
to a search of BEAL's Residence. In BEAL's multi-room pool-house/garage,
OCSD Bomb Technician Deputy K. Stedman and FBI Task Force Bomb
Technician J. Hickey observed an approximately seven-foot tall rocket, rocket-
making equipment, two containers of potassium perchlorate (a precursor)1,two
containers of red gum (used as a fuel and binder in fireworks), and at least three
containers of black powder. In total, in a subsequent search pursuant to a state
search warrant, approximately 130 pounds of explosives/precursors were found in
BEAL's Residence (approximately 80 pounds of which was found in the garage).
             c.     BEAL spoke to FBI SAs Denning and Jaramenko and stated the
following:
                    i.    BEAL was contacted by Witness 1 about the explosion
and tuned into the news, where he confirmed that there was an explosion at the
Mareblu Building.


      1 According to FBI Special Agent Bomb Technician Greg Rabinowitz
potassium perchlorate is a strong and common oxidizer commonly used in tie
manufacture of pyrotechnic powders(commonly known as flash powders) both
commercially manufactured and improvised.

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                   ii.    Krajnyak is BEAL's ex-girlfriend. BEAL met Krajnyak
approximately a year and a half ago. They began dating and soon thereafter
opened a business together, the Spa, which was originally located in a different
location than the Mareblu Building. Within the last couple of months, the Spa
relocated to the Mareblu Building.
                   iii.   At some point, BEAL's and Krajnyak's relationship
began to cool due to disputes over the exclusivity of the relationship and financial
issues. By February or March 2018, their romantic relationship ended although
they remained business partners.
                   iv.    BEAL paid the rent for their business (approximately
$1,500 per month at the Mareblu Building location) and half of the Spa's operating
costs. Some months he would have to loan Krajnyak money to cover all of the
costs; other months, she made enough to cover the costs.
                   v.     BEAL said that the items that the bomb technicians saw
in his pool house/garage belonged to him. He is a model rocket hobbyist, but has
not pursued the hobby since 2004. He had set a goal of building a rocket that
could attain Mach II speed, and once he achieved that goal he no longer wanted to
pursue the hobby. Since 2004, he has not touched the rocket-making equipment
and chemicals in his pool house/garage, where they were stored.
                   vi.    BEAL ordered the precursors and accelerants in his pool
house/garage from the Internet between the late 1990s and 2004. From the late
1990s until September 11, 2001, he also made fireworks, including mortars. He
stopped making fireworks after September 11, 2001, because he did not want to
give the wrong impression.
                   vii.   BEAL learned how to build advanced rockets from a
partner with whom he built rockets unti12004.
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                     viii. BEAL said he saw media coverage of the explosion and
claimed he did not have material to create an explosion that large.
         9.    Based on my review of the State Search Warrant(defined below), I
learned that on May 15, 2018, BEAL was interviewed by OCSD Investigator J.
Pelayo. BEAL stated the following:
               a.    He and Krajnyak met through an online dating application.
They started dating on or about June 19, 2016 and dated for approximately 1.5
years.
               b.    During their relationship, they also became business partners
and BEAL is Krajnyak's business manager. BEAL currently leases the office
space in the Mareblu Building for the Spa, which has been at this location for
approximately six to nine months. The lease is under BEAL's name because
Krajnyak previously filed for bankruptcy.
               c.    Krajnyak and BEAL also have another business called 888
Unlimited, which sells cosmetic products.
         C.    Execution of Search Warrants
         10.   On May 16, 2018, the Honorable Glenn Salter, Judge for the Superior
Court of California, County of Orange, approved search warrants for the following
locations2(the "State Search Warrant"):
               a.    All of the office suites on the first and second floors of the
Mareblu Building, including the Spa;
               b.    Krajnyak's white Lexus sedan, which was parked at the
Mareblu Building;
               c.    Krajnyak's residence on Drover Court in Trabuco Canyon in
Orange County;

      2 The State Search Warrant also authorized the search and seizure of a white
iPhone found in the Spa a few feet away from the blast site and Krajnyak's
personal and business Facebook accounts.

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                d.   BEAL's Residence; and
                e.   BEAL's silver Toyota Prius, which was parked in the driveway
of BEAL's Residence.
       1 1.     Based on my communication with FBI Special Agent Bomb
Technician("BABY") Greg Rabinowitz, who was part of the team that searched
BEAL's Residence, I learned the following:
                a.   In the BEAL Residence, they found, among other things, the
following items:
                     i.     Two cardboard tube items;
                     ii.    Batteries;
                     iii.   A nine-volt battery connector;
                     iv.    In total, approximately 130 pounds of
explosives/precursors, including potassium perchlorate and potassium chlorate,
approximately 80 of which was located in the garage;
                     v.     Containers of black powder and numerous other
unknown energetic powders(which were determined to be energetic based on field
testing); and
                     vi.    Two handguns and a shotgun, none of which requires
registration under the National Firearms Registration and Transfer Record.
                b.   On May 16, 2018, an OCSD bomb technician inspected the two
identical-looking items. Each consists of a hollow cardboard cylinder
approximately 7.5 inches long and one inch in diameter. Protruding from one end
of the cylinder is a 30-inch long fuse. The OCSD bomb technician then performed
a "render-safe" procedure to expose the contents of one of the cardboard tubes.3


      3 Agents also found a third improvised tube-type device in an annex to the
garage of the BEAL Residence ("Rocket Device"). That item was visibly capped
on one end, wrapped in silver duct tape, and had leg wires from an electnc initiator
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Inside the cylinder was an off-white chalky powder. He then performed a
presumptive field screening on the powder, which reacted violently when heat was
applied to it. This behavior is consistent with energetic mixtures known to be used
in destructive devices (also known as IEDs and/or bombs). Based on SABT
Rabinovitz's training, knowledge, and experience, the recovered items have the ~ and not
physical characteristics, composition, and construction of a destructive devic .4 Consistcnt
                                                                                 With fh~tt
      D. BEAL's Statements about the Pipe IEDs and Rocket Device
                                                                           of a rv~c,~de ~
       12.   Based on my communications with FBI SA Rafik Mattar, I learned rocl~efi.
that on May 16, 2018, BEAL was interviewed and stated the following:
             a.    When shown a photograph of the Rocket Device, BEAL
initially said he did not recognize it. Later, he acknowledged that the Rocket
Device was a smoke detonator whose purpose was to release smoke during flight
so the rocket would stay visible. He said he could not remember if he made the
Rocket Device or purchased and put duct tape on it.
             b.    When shown photographs ofthe two pipe IEDs, BEAL initially
said he did not recognize them. However, he later explained their exact location in
the pool house/garage where they were actually found. BEAL also claimed that he
had not made any bombs or anything that would catch on or cause a fire.
             c.    BEAL said he also built another device smaller than the two
pipe IEDs to assist with his neighbor's gopher problem. The fuse for that device
was long enough such that he chatted with the neighbor while it burned down.




extending from one end of the tube with the other end wrapped in duct tape. Bomb
technicians employed a "render-safe" procedure to open the item, and tested the
powder inside. The powder inside was consistent with asmoke-generating powder
that burns. This is consistent with statements made by BEAL during his interview
regarding use in rocketry.
       4 Final determination is pending analysis of an FBI Explosives Unit device
examiner.

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      E.     BEAL Has Not Registered Any Firearms or Destructive Devices
             in the National Firearms Registration and Transfer Record
       13.   On or about May 16, 2018, I received from ATF Intelligence
Specialist Thomas Chimileski Jr. the results of a query of the National Firearms
Registration and Transfer Record ("NFRTR"), the central registry of all National
Firearms Act("NFA")firearms in the U.S. that are not in the possession or under
the control ofthe U.S. Government. Based on the totality of the evidence set forth
in this affidavit, there is probable cause to believe that the devices described above
require registration. I have learned that there are no firearms or destructive devices
registered to BEAL in the NFRTR.
      F.     BEAL's Arrest
      14.    On May 16, 2018, BEAL was arrested by the FBI based on probable
cause to believe he had committed a violation of the Subject Offense and is
currently in custody.
                               V.    CONCLUSION
      15.    For all the reasons described above, there is probable cause to believe
that BEAL has committed a violation of the Subject Offense.

                                                                      ~,.


                                           Evan Jesch,     ial Agent
                                           Federal Bureau of Investigation
Subscribed to and sworn before me
on May 17, 2018.



THE ONORABLE KAREN SCOTT
UNITED STATES MAGISTRATE JUDGE




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